          Case 6:20-cv-00022-SEH Document 235 Filed 01/03/22 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF MONTANA

                                  HELENA DIVISION

 MARIA MOELLER and RON
 MOELLER,
                                                 No. CV 20-22-H-SEH
                              Plaintiffs,

 v.                                              ORDER

 THE ALIERA COMPANIES, INC.;
 TRINITY HEALTHSHARE;
 TIMOTHY MOSES, SHELLEY
 STEELE, CHASE MOSES, and DOES
 1-10'

                              Defendants.

      On December 30, 2021, counsel of record for Defendant Trinity

Healthshare, Nathan A. Shacht, Jeffrey R. Baxter, and Jaqueline T. Menk, filed a

notice titled "Request for Clarification regarding the Court's December 16, 2021

Order" 1 seeking clarification "as to whether undersigned counsel for Trinity must

attend the January 6, 2022 hearing. " 2



      1
          Doc. 234.
      2
          Doc. 234 at 4.
Case 6:20-cv-00022-SEH Document 235 Filed 01/03/22 Page 2 of 2
